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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JESSE ACKLES, individually and                     )
on behalf of all others similarly situated,        )
                                                   )
                        Plaintiff,                 )
                                                   )      Case No. 1:19-cv-08175
       vs.                                         )
                                                   )      Hon. John R. Blakey
H & R ACCOUNTS, INC. d/b/a AVADYNE                 )      Magistrate Judge Jeffery Gilbert
HEALTH.,                                           )
                                                   )
                        Defendant.                 )


                               INITIAL JOINT STATUS REPORT

1. All parties have been served.

2. Nature of the Case

       a.      Plaintiff’s Attorneys:
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b.     Basis for Federal Jurisdiction

              This Court has federal question jurisdiction under 28 U.S.C. § 1331 because the

       claims arise under a federal law, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

       et seq. (“FDCPA”). See also 15 U.S.C. § 1692k(d). Defendant reserves the right to

       challenge whether Plaintiff has alleged a concrete injury-in-fact sufficient for Article III

       standing under Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) and its progeny.

c.     Nature of the Claims

              Plaintiff Jesse Ackles is bringing the lawsuit as a putative class action for alleged

       violations of the FDCPA.

              The FDCPA requires debt collectors to provide certain disclosures in initial and

       subsequent communications with consumers. Failure to include these disclosures is a

       violation of the FDCPA, which provides statutory damages of up to $1,000 per action as

       well as attorney’s fees and costs.

              Plaintiff alleges that he received multiple phone calls from Avadyne regarding a

       debt in default, but that Avadyne did not include the required disclosures.

              Avadyne denies that it violated the FDCPA, and it further denies that this case is

       suitable for class action treatment under Fed. R. Civ. P. 23.

d.     Major Legal and Factual Issues

                  •   Whether Plaintiff has Article III standing to pursue his FDCPA claim in

                      federal court.

                  •   Whether Avadyne’s calls to Plaintiff violated the FDCPA.



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                    •   Whether Avadyne is a “debt collector” as defined under Section 1692(a)

                        of the FDCPA.

                    •   Whether the debt at issue was in “default” when Avadyne made its calls to

                        Plaintiff.

                    •   Whether a class should be certified under Federal Rule of Civil Procedure

                        23.

                    •   Whether merits discovery and class discovery should be bifurcated.

e.     Relief Sought

              Ackles seeks statutory damages for himself and an incentive award for being class

       representative. Ackles seeks a class award of either $1,000 per class member or a settlement

       fund of the lesser of $500,000 or 1% of Avadyne’s net worth. Ackles also seeks reasonable

       attorney’s fees and costs for his counsel.

4.     Pending Motions and Case Plan

       a. There are no pending motions.

       b. The undersigned certify compliance by parties and counsel with the MIDP standing

order. See Dkts. 17 & 18 (notices of service of MIDP responses).

       c. Discovery and Case Management Plan

               i.       Both parties will issue written discovery, and each party anticipates

                        needing at least 1-2 depositions for merits discovery. The parties also

                        anticipate the need for electronic discovery and will agree on an ESI

                        protocol.




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                  Further, Avadyne submits that merits discovery and class discovery should

                  be bifurcated, such that the Court will rule on the merits of Plaintiff’s

                  individual FDCPA claim prior to the initiation of any class discovery.

                  Plaintiff does not object to bifurcated discovery.

          ii.     The Parties are participating in the Court’s Mandatory Initial Discovery

                  Pilot Program, which imposes discovery obligations that supersede the

                  disclosures required by Rule 26(a)(1). As noted above (¶ 4.b), the Parties

                  have already exchanged their MIDP Responses in lieu of Rule 26(a)(1)

                  disclosures.

         iii.     Issue written discovery by: August 3, 2020

         iv.      Merits-based fact discovery to close by: November 2, 2020

          v.      Expert discovery is not anticipated at this point.

         vi.      Dispositive motions by: December 15, 2020. Avadyne submits that class

                  discovery should not begin until after the Court rules on Avadyne’s motion

                  for summary judgment on Plaintiff’s FDCPA claim.

        vii.      Tentative Trial Date of July 12, 2021

       viii.      Parties will submit a proposed confidentiality order consistent with the

                  Northern District of Illinois’s model order.

         ix.      HIPAA waivers specific to certain documents signed by Plaintiff and

                  information containing protected health information (PHI) in Avadyne’s

                  possession will be needed.

  d. A jury trial is requested. Ackles anticipates a 1-2 day trial.




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5.     Counsel have advised their respective clients and there is not unanimous consent to proceed

       before a magistrate judge at this time.

6.     Settlement discussions have occurred and have been ongoing since filing. Plaintiff

rejected Defendant’s most recent settlement offer on March 25, 2020.

       At this point, the parties do not request a settlement conference.



Dated: June 30, 2020                                       Respectfully Submitted By:



/s/ Michael W. Drew                                         /s/David M. Poell_____________

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